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                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION

In re:
                                                                 Case No.: 3:16-bk-02230-PMG
RMS TITANIC, INC., et al.,
                                                                 Chapter 11
                   1
      Debtors.
________________________________/                                (Jointly Administered)

OMNIBUS RESPONSE OF EUCLID CLAIMS RECOVERY LLC TO MOTION OF THE
 DEBTORS TO APPROVE SALE PROCEDURES AND MOTIONS OF RESPECTIVE
  OFFICIAL COMMITTEES TO APPROVE PLAN DISCLOSURE STATEMENTS


Euclid Claims Recovery LLC, by and through its undersigned counsel, submits this Omnibus

Response to the Motion of the Debtors to Approve Bidding Procedures (Docket No. 1055), the

Motions of the Official Committee of Unsecured Creditors (Docket No. 1086) and the Official

Committee of Equity Security Holders (Docket Nos. 1044 and 1060) to Approve the Disclosure

Statements accompanying their respective Chapter 11 Plans, and the Court’s Amended Order on

Status Conference (Docket No. 1151) and in support thereof respectfully represents and requests

as follows:



1.       It is axiomatic that the primary parties in interest in this, and any, chapter 11 case are the

creditors at the fulcrum of the debtors’ capital structure whose requisite majority vote is required

to approve a plan to exit chapter 11. The Debtors here, however, by attempting to conclude this




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  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier Exhibitions Management,
LLC (3101); Arts and Exhibitions International, LLC (3101); Premier Exhibitions International, LLC (5075);
Premier Exhibitions NYC, Inc. (9246); Premier Merchandising, LLC (3867); and Dinosaurs Unearthed Corp. (7309)
(collectively, the "Debtors"). The Debtors' service address is 3045 Kingston Court, Suite I, Peachtree Corners,
Georgia 30071.


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case solely through a section 363 sale and to squelch the efforts of both statutory committees to

propose chapter 11 plans, seek to disenfranchise those primary chapter 11 creditor stakeholders.



2.       The Debtors’ singular section 363 sale process would bind the fulcrum unsecured

creditors to a result that would produce, at best, a dividend of no more than 60% without any

opportunity to consider better plan alternatives.     In contrast, the proposal of Plans by the

Committees and the solicitation of acceptance of those Plans embodies the essence of the chapter

11 statutory process by affording unsecured creditors, the primary stakeholders here, the

opportunity to vote on the ultimate case outcome.



3.       Euclid will not belabor the record with any further discussion in this Response of its

serious concerns with the manner in which the Debtors have managed the administration of these

chapter 11 cases. Instead, the purpose of this Response is to convey the request by Euclid, as an

affected general creditor stakeholder, that the Court adopt the procedures described below to

implement the Status Conference Order in a manner that recognizes the fundamental chapter 11

precept of creditor democracy.



4.       Euclid requests that the Court take the following actions at the August 30, 2018 hearing

in furtherance of the Status Conference Order:


         A. Approve both Disclosure Statements and set a schedule that provides for prompt
            concurrent solicitation of votes for each Plan and prompt concurrent confirmation
            hearings. To the extent any issues exist about the feasibility of either Plan, such
            issues should be considered at the time of the confirmation hearing in the event either
            or both Plans garner requisite accepting votes.




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         B. Approve the Sale Procedures Motion, subject to the modifications described below,
            and set a final sale approval hearing at a time concurrent with the Plan confirmation
            hearings.

         C. Each Plan that is accepted by requisite creditor vote should be considered at the
            scheduled confirmation hearing in order for the Court to determine if that Plan
            satisfies the chapter 11 feasibility requirement and other confirmation standards, and,
            if at least one of the Plans is found to satisfy those standards, the Court should
            confirm the Plan that is favored by creditors over the other confirmable Plan, if
            applicable, and favored over the proposed section 363 sale and not approve the
            section 363 sale.

         D. In the event the Court confirms one of the Plans and does not approve the section 363
            sale, the stalking horse bidder should not be entitled to a break-up fee or any other
            consideration from the estates and the Court order approving the Sale Procedures
            Motion should so provide.

         E. The Court order approving the Sale Procedures Motion should further provide that in
            the event the section 363 sale is otherwise approved, the Debtors shall be required to
            distribute the proceeds thereof solely in accordance with the terms of a liquidating
            plan that is submitted for a creditor vote and requisite majority approval and shall not
            otherwise disburse the proceeds or seek the dismissal of these chapter 11 cases
            outside of a plan process.

         F. In addition to any other requirements the Court may have for the confirmation of a
            Plan or approval of a section 363 sale, the Court, on request of a party in interest and
            after notice and hearing, should be required to find as a condition of such
            confirmation or sale approval that the Plan or section 363 sale is in the best interests
            of creditors by producing a result for creditors better than that which would be
            achieved if these cases were converted to Chapter 7.


Dated this 27th day of August, 2018.

                                                 /s/ Howard Siegel
                                                 ___________________________________
                                                 HOWARD SIEGEL
                                                 Connecticut Bar No. 07092
                                                 945 McKinney Street, PMB 434
                                                 Houston, TX 77002
                                                 Tel: 713-984-4801
                                                 Email: howard@eucinv.com

                                                 Counsel to the Movants




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                                              /s/ Aaron R. Cohen
                                              __________________________________
                                              AARON R. COHEN
                                              Florida Bar No. 0558230
                                              Post Office Box 4218
                                              Jacksonville, FL 32201
                                              Tel: 904-389-7277
                                              Fax: 904-389-7273
                                              Email: acohen60@bellsouth.net

                                              Local Counsel to the Movants


                                               Filer’s Attestation: Pursuant to Local Rule
                                              1001-2(e)(3) regarding signatures, Aaron
                                              Cohen attests that concurrence in the filing of
                                              this paper has been obtained.




                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on 27 of August 2018, a true and correct copy of the

foregoing has been served through the CM/ECF system to all registered CM/ECF recipients.

         Per the Court’s Order Granting Debtors’ Motion for an Order Pursuant to 11 U.S.C. §

105(a) and Rule 2002 Establishing Notice Procedures [Doc. No. 140], a true and correct copy of

the foregoing was also furnished on August 27, 2018 via first-class U.S. Mail, postage-prepaid,

to the Master Service List attached hereto.

                                                   /s/ Aaron R. Cohen

                                                   ______________________________
                                                   AARON R. COHEN




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